       Case 1:18-cr-00258-BLW Document 1209 Filed 10/13/21 Page 1 of 4




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                      IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,

                 Plaintiff,
                                                 CASE NO. CR-18-00258-BLW
 vs.

 PAVEL BABICHENKO,                               SPECIFIC REQUEST FOR
 GENNADY BABITCHENKO,                            DISCOVERY PURSUANT TO
 PIOTR BABICHENKO,                               F.R.C.P. 16(a)(1)(E)
 TIMOFEY BABICHENKO,
 KRISTINA BABICHENKO,
 NATALYA BABICHENKO,
 DAVID BIBIKOV,
 ANNA IYERUSALIMENTS,
 MIKHAIL IYERUSALIMETS,
 ARTUR PUPKO,

                 Defendants.

         Defendant Pavel “Paul” Babichenko, through his attorneys, moves the Court

pursuant to Fed.R.Crim.P. 16(a)(1)(E)(iii) for an opportunity to inspect and copy

documents and data belonging to Mr. Babichenko. These items are possessed by and

within the control of the government. The memorandum and declaration

contemporaneously filed support this motion.


DEFENDANT PAUL BABICHENKO’S SPECIFIC REQUEST FOR DISCOVERY PURSUANT TO               1
F.R.C.P. 16(A)(1)(E)
   Case 1:18-cr-00258-BLW Document 1209 Filed 10/13/21 Page 2 of 4




      DATED this 13th day of October 2021

                              LAW OFFICES OF ELLSWORTH,
                              KALLAS & DEFRANCO, P.L.L.C.


                              By___________/s/_________________
                              John C. DeFranco,
                              Attorney For Defendant




DEFENDANT PAUL BABICHENKO’S SPECIFIC REQUEST FOR DISCOVERY PURSUANT TO   2
F.R.C.P. 16(A)(1)(E)
    Case 1:18-cr-00258-BLW Document 1209 Filed 10/13/21 Page 3 of 4




                             CERTIFICATE OF SERVICE

        I hereby certify that on this 13th day of October 2021, I filed the foregoing
electronically through the CM/ECF system, which caused the parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

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DEFENDANT PAUL BABICHENKO’S SPECIFIC REQUEST FOR DISCOVERY PURSUANT TO                3
F.R.C.P. 16(A)(1)(E)
   Case 1:18-cr-00258-BLW Document 1209 Filed 10/13/21 Page 4 of 4




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                                           /s/ John C. DeFranco



DEFENDANT PAUL BABICHENKO’S SPECIFIC REQUEST FOR DISCOVERY PURSUANT TO   4
F.R.C.P. 16(A)(1)(E)
